                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   CASE NO. 3:21-cv-00501-RJC-DCK

  FS Medical Supplies, LLC                           )
                                                     )
                             Plaintiff(s),           )
 v.                                                  )
                                                     )
  TannerGAP, Inc. and Tanner Pharma UK Limited       )
                                                     )
                             Defendant(s).           )

                DISCLOSURE BY NON-GOVERNMENTAL CORPORATE PARTY
                   OF CORPORATE AFFILIATIONS AND OTHER ENTITIES
                    WITH A DIRECT FINANCIAL INTEREST IN LITIGATION

This disclosure must be filed on behalf of each nongovernmental corporate entity that is a
party to the action. Counsel has a continuing duty to update this information. An executed
form should be electronically-filed. Plaintiff or the moving party must serve this form on
the defendant(s) or respondent(s) when initial service is made.

  Tanner Pharma UK Limited                       who is   Defendant
 (Name of Party)                                            (Plaintiff / moving party or defendant)
 makes the following disclosure:

      1. Is the party a publicly held corporation or other publicly-held entity?
                 Yes               ✔ No

      2. Does the party have any parent corporations?
               Yes              ✔ No
          If yes, identify all parent corporations, including grandparent and great-
          grandparent corporations:



      3. Is 10% or more of the stock of a party owned by a publicly-held corporation or
         other publicly-held entity?
                Yes                ✔ No
          If yes, identify all such owners:




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    4. Is there any other publicly-held corporation or other publicly-held entity that has a
       direct financial interest in the outcome of the litigation?
                      Yes                 ✔ No
        If yes, identify the entity and the nature of its interest:


   5.    Is the party a trade association?
                      Yes               ✔ No
         If yes, identify all members of the association, their parent corporations, and any
         publicly held companies that own 10% or more of a member’s stock:


   6.    If the case arises out of a bankruptcy proceeding, identify any trustee and the
         members of any creditors’ committee:




        s/  Bradley R. Kutrow                                12/6/2021
        Signature of Attorney                                Date




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